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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                               EVANSVILLE DIVISION

 DAVID F. DRIVER                              )
                                              )
                                              )
                PLAINTIFF,                    )
                                              )       Civil Action No. 3:18-cv-00220
                v.                            )
                                              )       Hon. Richard L. Young
 LJ ROSS ASSOCIATES, INC.,                    )
                                              )       Magistrate Judge Mathew P. Brookman
                DEFENDANT                     )


 DEFENDANT'S RESPONSE BRIEF TO PLAINTIFF'S MOTION FOR LEAVE TO FILE
                    SUPPLEMENTAL AUTHORITY

 I.     INTRODUCTION

        The district court's opinion in Duarte v. Client Servs., Case No. 3:18-cv-00220-MPB-

 RLY, (N.D. Ill. Mar. 29, 2019), fails to undermine the conclusion that Plaintiff's Complaint must

 be dismissed for failure to state a claim upon which relief can be granted. Indeed, the Duarte

 decision is entirely distinguishable, in that it does not address the precise issue in this case‒

 whether itemization of "$0.00" for column headings of "Total Interest Added" and "Total Non-

 Int Chrges/Adjstmts" in a dunning letter violates the FDCPA. Moreover, the Duarte decision

 was rendered without any analysis or consideration of the several district courts that have already

 dismissed FDCPA claims concerning dunning letters with $0.00 itemization headers less precise

 than those at issue in this case. Accordingly, Duarte has no bearing on this case and Plaintiff's

 Complaint must be dismissed.

 II.    ARGUMENT

        Driver's reliance on Duarte is misplaced. In Duarte, the plaintiff debtor claimed that the

 dunning letter's statement that she owed "$0.00" in "Other Charges" was misleading because it


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 implied that she could have incurred additional charges, when the debt collector did not intend to

 assess other charges or collection costs. 1 See Duarte, No. 3:18-cv-00220-MPB-RLY, at *2.

 Without any analysis or consideration of the case law cited by LJRA in this case, the Duarte

 court conclusorily held that "[a]n unsophisticated consumer, like plaintiff, could reasonably have

 believed that she would incur other charges if she did not pay the debt. Id. at *7. The Duarte

 court, like Driver in this case, relied solely on Wood v. Allied Interstate, LLC, Case No. 17 C

 4921, 2018 WL 2967061, at *2 (N.D. Ill. June 13, 2018). See id. at *7-*8.

        However, for the same reasons that Wood is distinguishable from this case, Duarte is also

 entirely distinguishable.   LJRA's letter does not include any headers or itemizations for

 "Collection Costs," "Fees," or "Other Charges." See Exhibit 1 to LJRA's Br. in Supp. of Mtn. to

 Dismiss, (Doc. # 23-1, PageID.96).         Instead, LJRA itemized "$0.00" for "Total Non-Int

 Chrges/Adjstmts." Id. (emphasis added). That header neither says nor implies anything about

 the possibility of future charges or adjustments because it is a statement regarding a present total.

 Instead, if the header implies anything, it implies that no charges or adjustments could be added

 in the future because "$0.00" of charges and adjustments already constituted the "Total" added to

 Driver's debt.

        Moreover, the Duarte court failed to account for the several district court decisions‒

 including the Northern District of Illinois on two occasions‒that have already dismissed FDCPA

 claims concerning dunning letters with $0.00 itemization headers less precise than those at issue

 in this case, holding that no reasonable consumer, no matter how unsophisticated, could be

 confused, misled, or deceived by that language. See Colletta v. Allied Interstate, LLC, No. 18 C

 4014, slip op. at 4-6 (N.D. Ill. Dec. 10, 2018) (Doc # 24-1, PageID.113-116) (dismissing, under

 1
  Tellingly, the Duarte plaintiff‒unlike Driver in this case‒did not even attempt to argue that the
 letter's statement that she owed "$0.00" in "Interest" was misleading. See generally, id.
                                                   2
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 Rule 12(b)(6), plaintiff's FDCPA claim that table listing "$0.00" in "Interest," "Fees," and

 "Collection Costs" was misleading); Delgado v. Client Servs., Inc., No. 17 C 4364, 2018 WL

 1193741, at *2-*4 (N.D. Ill. Mar. 7, 2018) (holding allegation that collection letter's itemization

 of "$0.00" for "Interest" and "Other Charges" "implied that interest and other charges would

 accumulate in the future," and "falsely represented that interest and other charges could be

 applied" did not state claim for violation of the FDCPA); Jones v. Professional Fin. Company,

 Inc., No. 17-61435-CIV-DIMITROULEAS, 2017 WL 6033547, at * 2-3 (S.D. Fla. Dec. 4, 2017)

 (dismissing, under Rule 12(b)(6), plaintiff's Section 1692e and f claims that collection letter's

 itemization of a $0 fee was false, misleading, and deceptive and noting that the $0 itemization

 "specifically shows there are no fees associated with the debt; that is the ordinary meaning of

 0.00‒none, zilch, nada.") (citation omitted); Dick v. Enhanced Recovery Company, LLC, No. 15-

 CV-2631 (RRM) (SMG), 2016 WL 5678556, at *7 (E.D.N.Y. Sept. 28, 2016) (holding

 allegation that collection letter's itemization of $0.00 for non-interest charges and fees led debtor

 to believe that those charges and fees could increase in the future did not state claim for violation

 of the FDCPA because those "representations in the Letter are neither vague nor ambiguous[.]").

 Like the Plaintiff in this case, the Duarte court fails to address these cases in any meaningful

 way, much less even attempt to distinguish them. See Duarte, No. 3:18-cv-00220-MPB-RLY, at

 *6-*8; see also Driver Response Br. (Doc. # 22).

        At bottom, Duarte does not address the precise issue in this case‒whether itemization of

 "$0.00" for column headings of "Total Interest Added" and "Total Non-Int Chrges/Adjstmts" in a

 dunning letter violates the FDCPA. Driver's Complaint fails to allege any plausible theory of

 recovery under the FDCPA and should be dismissed accordingly.




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 III.   CONCLUSION

        For the foregoing reasons, Plaintiff's complaint against Defendant LJ Ross Associates,

 Inc. should be dismissed, with prejudice.

                                              Respectfully submitted,

                                              VARNUM LLP
                                              Attorneys for Defendant

 Dated: April 12, 2019                        By:     /s/ Herman D. Hofman

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 12, 2019, I electronically filed the foregoing paper with the
 Clerk of the Court using the ECF system which will send the notification of such filing to
 counsel of record.


                                              By:     /s/ Herman D. Hofman


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